Case 1:18-cv-00950-LO-JFA Document 353-3 Filed 09/13/19 Page 1 of 3 PageID# 12507



                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,
                                                           CONTAINS HIGHLY CONFIDENTIAL –
         Defendants.                                       ATTORNEYS’ EYES ONLY
                                                           INFORMATION




                                  DECLARATION OF STEVEN MARKS

            I, Steven Marks, hereby declare pursuant to 28 U.S.C. § 1746 that the following statements

     are true and correct to the best of my personal knowledge and belief:

                                                 Introduction

            1.         I am the former General Counsel and Chief of Digital Business for the Recording

     Industry Association of America (“RIAA”), where I worked from 1997 until January 2019. I

     have personal knowledge of the facts set forth herein and, if necessary, I would and could

     competently testify thereto if called as a witness in this matter. I submit this declaration in

     support of Plaintiffs’ Opposition to Cox’s Motion For Discovery Sanctions And To Preclude

     Plaintiffs’ Use Of MarkMonitor Evidence.

            2.         RIAA is the trade organization that supports and promotes the creative and

     financial vitality of the major recording companies, including the Record Company Plaintiffs in

     this case. Among other things, RIAA works to protect the intellectual property and First
Case 1:18-cv-00950-LO-JFA Document 353-3 Filed 09/13/19 Page 2 of 3 PageID# 12508



  Amendment rights of artists and music labels; conducts consumer, industry and technical

  research; and monitors and reviews state and federal laws, regulations and policies.

         3.      MarkMonitor provided antipiracy services to RIAA for many years, including

  from 2008 through at least March 2015.

         4.      For a period of years prior to 2008, the music industry had a well-known litigation

  program that involved lawsuits against individuals infringing on P2P services. Once that

  program ended in roughly 2007 or early 2008, RIAA and its members shifted focus and were

  trying to work with ISPs to combat P2P piracy by their subscribers. This was approximately the

  same time that RIAA began discussing with ISPs, including Cox, a proposed experiment to work

  together to combat online piracy. That experiment would become known as the Copyright Alert

  System.

         5.      Consistent with that approach, from 2008 through at least March 2015,

  MarkMonitor’s efforts to monitor peer-to-peer (“P2P”) networks and detect instances of

  infringement were part of a notice program, not a litigation program. The purpose of the

  program was to provide ISPs – including Cox – with notice of their subscribers’ infringement, so

  that the ISPs could take steps to address it.

         6.      During the Claim Period (February 2013 through November 2014) and before,

  litigation against Cox and the other ISPs involved with the RIAA notice program was not

  contemplated. The agreements with Mark Monitor made clear that




                                                                                                   ,



                                                  2
Case 1:18-cv-00950-LO-JFA Document 353-3 Filed 09/13/19 Page 3 of 3 PageID# 12509
